                 Case 2:18-cr-00058-JAM Document 15 Filed 05/16/18 Page 1 of 8

 1 MCGREGOR W. SCOTT
   United States Attorney
 2 AMY SCHULLER HITCHCOCK
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-00058-JAM
11
                                   Plaintiff,            STIPULATION AND JOINT REQUEST FOR
12                                                       PROTECTIVE ORDER; [PROPOSED]
                            v.                           PROTECTIVE ORDER
13
     JOHN MICHAEL HERRON II,
14
                                  Defendant.
15

16

17                                              I.   STIPULATION
18          1.      Plaintiff United States of America, by and through its counsel of record, and defendant

19 John Michael Herron II (“defendant”), by and through his counsel of record (collectively, the “parties”),

20 for the reasons set forth below, hereby stipulate, agree, and jointly request that the Court enter a

21 Protective Order in this case restricting the use and dissemination of certain materials containing

22 personal identifying information of real persons and other confidential information of victims, witnesses

23 and third parties.

24          2.      On March 22, 2018, the Grand Jury returned an indictment charging defendant with 18

25 counts of Mail Fraud, in violation of 18 U.S.C. § 1341, and 1 count of Aggravated Identity Theft, in

26 violation of 18 U.S.C. § 1028A, arising from a scheme to defraud the California Employment

27 Development Department (EDD) via false unemployment insurance claims. ECF 1. Defendant is

28 currently detained pending trial. ECF 11.


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER         1
                 Case 2:18-cr-00058-JAM Document 15 Filed 05/16/18 Page 2 of 8

 1          3.      As part of its investigation in the above-captioned case, the government is in possession

 2 of documents relating to the charges against the defendant, and seeks to provide those documents to the

 3 counsel for the defendant. Some of the materials may exceed the scope of the government’s discovery

 4 obligations and will be produced to promote a prompt and just resolution or trial of the case.

 5          4.      The government intends to produce to the Defense Team, as defined below, materials

 6 containing personal identifying information (PII) and other confidential information of real persons,

 7 including, among other things, personal names, addresses, Social Security numbers, employers, and

 8 bank account numbers. These real persons are victims, witnesses, or third parties to this case.

 9          5.      The purpose of the proposed Protective Order is to prevent the unauthorized

10 dissemination, distribution, or use of materials containing the PII of others. If this information is

11 disclosed without protective measures, or to defendant without limitation, it will risk the privacy and

12 security of the people to whom the information relates. The information could itself be used to further

13 criminal activity if improperly disclosed or used. The government has ongoing statutory and ethical

14 obligations to protect victims.

15          6.      Due to the nature of the charges and the alleged conduct in this case, PII makes up a

16 significant part of the discovery materials in this case and such information itself, in many instances, has

17 evidentiary value. The documentary evidence contains a very large quantity of privacy-protected

18 information that would be difficult or time-consuming to redact. Further, if the government were to

19 attempt to redact all this information, the defense would receive a set of discovery that would be highly

20 confusing and difficult to understand, and could inhibit prompt and just resolution of the case or

21 preparation for trial.

22          7.      Accordingly, the parties jointly request a Protective Order that will permit the

23 government to produce discovery that is unredacted, but preserves the privacy and security of victims,

24 witness, and third parties. The parties agree that the following conditions, if ordered by the Court in the

25 proposed Protective Order, will serve the government’s interest in maintaining the privacy and security

26 of victims and third parties, while permitting the Defense Team to understand the government’s

27 evidence against this defendant.

28          8.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER        2
                 Case 2:18-cr-00058-JAM Document 15 Filed 05/16/18 Page 3 of 8

 1 Criminal Procedure, Local Rule 141.1, and its general supervisory authority.

 2                              II.      PROPOSED PROTECTIVE ORDER
 3          A.      Protected Materials
 4          9.      This Order pertains to all discovery provided or made available to defense counsel in this

 5 case (hereafter, collectively “Protected Materials”).

 6          10.     For purposes of the Protective Order, the term “Personal Identifying Information” (PII)

 7 includes any information within the definition of a “means of identification” under 18 U.S.C. §

 8 1028(d)(7) or any information within the definition of an “access device” under 18 U.S.C. § 1029(e)(1).

 9          11.     To the extent that notes are made that memorialize, in whole or in part, the PII in any

10 Protected Materials, or to the extent that copies are made for authorized use by members of the Defense

11 Team, such notes, copies, or reproductions become Protected Materials, subject to the Protective Order

12 and must be handled in accordance with the terms of the Protective Order.

13          B.      Defense Team
14          12.     For purposes of this Order, the term “Defense Counsel” refers to the defendant’s counsel

15 of record.

16          13.     For purposes of this Order, the term “Defense Team” refers to (1) the defendant’s counsel

17 of record, (2) other attorneys at defense counsel’s law firm or defense organization who may be

18 consulted regarding case strategy in the above-captioned matter, (3) licensed defense investigators who

19 are assisting defense counsel with this case, (4) retained experts or potential experts, and (5) paralegals,

20 legal assistants, and other support staff to defendant’s counsel of record providing assistance on this

21 case. The term “Defense Team” does not include defendant, the defendant’s family, or other associates

22 of the defendant.

23          14.     Defense Counsel must provide copy of this Order to all members of the Defense Team

24 and must obtain written acknowledgement from members of the Defense Team that they are bound by

25 the terms and conditions of this Protective Order, prior to providing any Protected Materials to the

26 members of the Defense Team. The written acknowledgement need not be disclosed or produced to the

27 United States unless ordered by the Court.

28


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER          3
                 Case 2:18-cr-00058-JAM Document 15 Filed 05/16/18 Page 4 of 8

 1          C.      Disclosure of Protected Materials

 2          15.     The Defense Team shall not permit anyone other than the Defense Team to have

 3 possession of the Protected Materials, including the defendant himself.

 4          16.     No person or party shall use any Protected Materials or information derived from

 5 Protected Materials produced in this action for any purpose other than use in the above-captioned case.

 6 All Protected Materials shall be used solely for the purpose of conducting and prepare for pre-trial, post-

 7 trial, and appellate proceedings (both direct and collateral) and in this criminal action for no other

 8 purposes whatsoever, and shall not be used for the economic or other benefit of the defendant, or any

 9 third party. Protected Materials may be disclosed only to the categories of persons and under the

10 conditions described in this Order.

11          17.     Defendant may review Protected Materials in this case only in the presence of a member

12 of the Defense Team, and his Defense Counsel shall ensure that defendant is never left alone with any

13 Protected Information. Defendant may not copy, keep, maintain, or otherwise possess any of such

14 Protected Materials at any time. Defendant must return any Protected Materials to the Defense Team at

15 the conclusion of any meeting at which defendant reviews the Protected Materials. Defendant may not

16 take any Protected Materials out of the room in which he is meeting with the Defense Team. Defendant

17 may not write down or memorialize any PII contained in the Protected Materials. At the conclusion of

18 any meeting with defendant, the member of the Defense Team present shall take with him or her all

19 Protected Materials. At no time, under any circumstances, will any Protected Materials be left in the

20 possession, custody, or control of the defendant, whether or not he is incarcerated, except as provided

21 below in Paragraphs 18 and 28.

22          18.     If, during the pendency of the case, defendant requests a copy of the Protected Materials

23 from Defense Counsel, Defense Counsel may provide a copy of the Protected Materials to the defendant

24 provided that Defense Counsel ensures that all PII contained in the Protected Materials is fully redacted

25 and the copy bears the inscription as described in Paragraph 24. If Defense Counsel provides a redacted

26 copy to defendant subject to these conditions, Defense Counsel or a member of the Defense Team must

27 contemporaneously memorialize in writing that it has fully redacted PII from the Protected Materials

28 and complied with this Order. This written certification need not be disclosed or produced to the United


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER         4
                 Case 2:18-cr-00058-JAM Document 15 Filed 05/16/18 Page 5 of 8

 1 States unless ordered by the Court.

 2          19.     The Defense Team may review Protected Materials with a witness or potential witness in

 3 this case, including the defendant, subject to the requirement above that a member of the Defense Team

 4 must be present if Protected Materials are being shown to the defendant. Before being shown any

 5 portion of the Protected Materials, however, any witness or potential witness must be informed of the

 6 requirements of the Protective Order. No witness or potential witness may retain Protected Materials, or

 7 any copy thereof, after his or her review of those materials with the Defense Team is complete.

 8          20.     This Order does not limit employees of the United States Attorney’s Office for the

 9 Eastern District of California from disclosing the Protected Materials to members of the United States

10 Attorney’s Office, law enforcement agencies, the Court, and defense.

11          21.     Defense Counsel shall advise the government with reasonable notice of any subpoenas,

12 document requests, or claims for access to the Protected Materials by third parties if Defense Counsel is

13 considering disseminating any of the Protected Materials to a third party, in order that the government

14 may take action to resist or comply with such demands as it may deem appropriate.

15          D.      Ensuring Security of Protected Materials
16          22.     The Defense Team shall maintain the Protected Materials safely and securely, and shall

17 exercise reasonable care in ensuring the security and confidentiality of the Protected Materials by storing

18 the Protected Materials in a secure place, such as a locked office.

19          23.     To the extent that Protected Materials, or any copies or reproductions thereof, are stored

20 electronically, the Protected Materials will be stored on a password-protected and encrypted storage

21 medium or device. Encryption keys must be stored securely and not written on the storage media that

22 they unlock.

23          24.     If a member of the Defense Team makes, or causes to be made, any further copies of any

24 of the Protected Materials, Defense Counsel will ensure that the following notation is written, stamped

25 or inscribed on whatever folder, container, or media contains the copies: “PROTECTED MATERIALS-

26 SUBJECT TO PROTECTIVE ORDER.” For example, if Defense Counsel makes a copy of a disc or

27 physical file containing Protected Materials, the duplicate disc or file must be encrypted and marked

28 with the above notation.


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER        5
                 Case 2:18-cr-00058-JAM Document 15 Filed 05/16/18 Page 6 of 8

 1          E.      Filings

 2          25.     In the event that a party needs to file Protected Materials containing PII, or materials

 3 otherwise identified as containing confidential information of victims, witnesses, or third parties with

 4 the Court, or disclose PII in court filings, the filing should be made under seal. If the Court rejects the

 5 request to file such information under seal, the party seeking to file such information shall provide

 6 advance written notice to the other party to afford such party an opportunity to object or otherwise

 7 respond to such intention. If the other party does not object to the proposed filing, the party seeking to

 8 file such information shall redact the PII or confidential materials and make all reasonable attempts to

 9 limit the divulging of PII or confidential materials.

10          F.      Conclusion of Prosecution

11          26.     The provisions of this Order shall not terminate at the conclusion of this prosecution. All

12 Protected Materials subject to the Protective Order maintained in the Defense Team’s files shall remain

13 subject to the Protective Order unless and until such Order is modified by the Court.

14          27.     Upon final disposition of the case, including exhaustion of direct and collateral appellate

15 proceedings, Defense Counsel shall return the Protected Materials to the government, or certify in

16 writing that the Protected Materials have been destroyed. If any Protected Materials are used as defense

17 exhibits, they shall be maintained with government exhibits so long as those are required to be

18 maintained.

19          28.     If, upon final disposition of the case, defendant requests a copy of the Protected Materials

20 from Defense Counsel, Defense Counsel may provide a copy of the Protected Materials to the defendant

21 provided that Defense Counsel ensures that all PII contained in the Protected Materials is fully redacted

22 and the copy bears the inscription as described in Paragraph 24. If Defense Counsel provides a redacted

23 copy to defendant subject to the above conditions, Defense Counsel or a member of the Defense Team

24 must contemporaneously attest in writing that it has fully redacted PII from the Protected Materials and

25 complied with this Order. This written certification need not be disclosed or produced to the United

26 States unless ordered by the Court.

27          G.      Termination or Substitution of Counsel

28          29.     In the event that there is a substitution of counsel prior to final disposition of the case,


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER          6
                 Case 2:18-cr-00058-JAM Document 15 Filed 05/16/18 Page 7 of 8

 1 new counsel of record must join this Protective Order before any Protected Materials may be transferred

 2 from the undersigned defense counsel to the new defense counsel. New defense counsel then will

 3 become Defense Counsel for purposes of this Protective Order, and become Defense Team’s custodian

 4 of materials, and shall then become responsible, upon the conclusion of appellate and post-conviction

 5 proceedings, for complying with the provisions set forth in Paragraph 28 above. All members of the

 6 Defense Team, whether current or past counsel, are at all times subject to the Protective Order and are

 7 not relieved by termination of representation or conclusion of the prosecution Modification of Order.

 8          30.     Nothing in this Order shall prevent any party from seeking modification to Order or from

 9 objecting to discovery it otherwise believes to be improper. Nothing in this Order shall prevent any part

10 from seeking a more restrictive protective order with regard to particular discovery items.

11          H.      Violation of Order
12          31.     Any person who willfully violates this Order may be held in contempt of court and may

13 be subject to monetary of other sanctions as deemed appropriate by the Court.

14          I.      Application of Laws
15          32.     Nothing in this Order shall be construed to affect or comment on the admissibility or

16 discoverability of the Protected Materials.

17          33.     Nothing in this Order shall be construed to affect the application of and the parties

18 compliance with the Federal Rules of Criminal Procedure, Local Rules, and applicable statutes.

19 Dated: May 15, 2018                                        MCGREGOR W. SCOTT
                                                              United States Attorney
20

21                                                            /s/ AMY SCHULLER
                                                              HITCHCOCK
22                                                            AMY SCHULLER
                                                              HITCHCOCK
23                                                            Assistant United States Attorney
24
     Dated: May 15, 2018                                      /s/ MATTHEW C. BOCKMON
25                                                            MATTHEW C. BOCKMON
                                                              Counsel for Defendant
26
                                                              JOHN MICHAEL HERRON II
27

28


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER         7
              Case 2:18-cr-00058-JAM Document 15 Filed 05/16/18 Page 8 of 8

 1                                [PROPOSED] FINDINGS AND ORDER

 2         The Court having read and considered the Stipulation and Joint Request for a Protective Order,

 3 which this Court incorporates by reference into this Order in full, hereby finds that GOOD CAUSE

 4 exists to enter the above Order.

 5         IT IS SO FOUND AND ORDERED this 15th day of May, 2018.

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER     8
